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8                              UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   SHARNETT BUSH,                              Case No. 8:21-cv-01614-JLS-KES
12                Plaintiff,                     ORDER GRANTING JOINT
                                                 STIPULATION TO BINDING
13         v.                                    ARBITRATION AND TO STAY
                                                 PENDING ACTION (Doc. 7)
14   UNITEDHEALTH GROUP
     INCORPORATED, a Delaware
15   corporation; OPTUM SERVICES, INC.,
     a Delaware corporation; and DOES 1-50,
16
                  Defendants.
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18         GOOD CAUSE HAVING BEEN SHOWN and all parties having stipulated
19   thereto, it is hereby ordered as follows:
20         The Court hereby approves the Joint Stipulation to Binding Arbitration and to
21   Stay Pending Action (Doc. 7).
22         IT IS SO ORDERED
23         Dated: November 01, 2021
24                                            J O S E P H IN E L . S T A T O N
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25                                           HON. JOSEPHINE L. STATON
                                             UNITED STATES DISTRICT JUDGE
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